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AO 442 (Rev.11111) ArrestWarrant



                                            UNITED STATES DISTRICT COURT
                                                                              for the

                                                                    District of Columbia


                     United States of America
                                 v.                                               )      Case: 1:22-mj-00203
                                                                                  )      Assigned To : Judge Harvey, G. Michael
                             Joseph Brody
                                                                                  )      Assign. Date: 9/1 2/2022
                                                                                  )      Description: Complaint wi Arrest Warrant
                                                                                  )
                                                                                  )
                                Defendant


                                                               ARREST WARRANT
To:         Any authorized law enforcement officer


            YOU ARE COMMANDED                    to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)     ~J~os~e",p~h~B=r=od,.,.y,__                                                                                             _
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment            o    Superseding Indictment               o Information            o   Superseding Information           N.   Complaint
o     Probation Violation Petition               o   Supervised Release Violation Petition               o Violation    Notice       0 Order of the Court

This offense is briefly described as follows:

18 U.S.C.   § 231(a)(3)- Civil Disorder;
18 U.S.C.   § 111(a)(l)- Assaulting, Resisting, or Impeding Certain Officers;
18 U.S.C.   § IS 12(c)(2)- Obstruct, influence, or impede any official proceeding;
18 U.S.C.   § 17S2(a)(1)- Entering and Remaining in a Restricted Building or Grounds;
18 U.S.c.   § 17S2(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C.   § SI04(e)(2)(D)- Disorderly Conduct in a Capitol Building;
40 U.S.c.   § S104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.

                                                                                      G. M·,c h ae I Harvey              Digitally signed by G. Michael Harvey
                                                                                                                         Date: 2022.09.12 16:40:09 -04'00'
Date:              09/12/2022
                                                                                                          Issuing officer's signature


City and state:                      Washington, D.C.                                        G. Michael Harvey, U.S. Magistrate                 Judge
                                                                                                            Printed name and title


                                                                              Return

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                                                                                                                    re
           This warrant was received on (date)                                        , and the person was arrested on (date)        {]
                                                                                                                                            I
at (city and state)  SP(2..!;{\J& ~Il=L..Oi \;/'r'                     •


Date:       c>Cj/1 ~/J. ~
